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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


ZAMPERLA, INC.; and ANTONIO
ZAMPERLA, SpA,


                     Plaintiffs,

v.                                                     Case No. 6:13-cv-1807-Orl-37KRS


I.E. PARK SRL,


                     Defendant.


                                      INJUNCTION

       The parties in this action have settled their disputes and jointly request that the

Court enter a permanent injunction in accordance with their stipulation and without

requiring that Plaintiffs post a bond (Doc. 94-1). (See Doc. 94.) Upon consideration, the

Court finds that the parties’ request is due to be granted.

       Accordingly, it is hereby ORDERED AND ADJUDGED that—until the dates set

forth below—Defendant I.E. Park srl, along with its directors, principals, officers, agents,

servants, employees, representatives, successors, assigns, and all those persons or

entities acting in concert or participation with Defendant who receive actual notice of this

Injunction, are ENJOINED AND RESTRAINED FROM IMPORTING, OFFERING TO

SELL, OR SELLING the following rides in the United States of America:

       (1)    what has previously been marketed as the Beach Safari, which
              infringes upon Zamperla’s U.S. Patent No. 7,846,032, up through
              December 27, 2025; and

       (2)    what has previously been marketed as the Rocking Submarine,
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            which infringes upon Zamperla’s U.S. Patent No. 6,884,177, up
            through February 28, 2023.

DONE AND ORDERED in Chambers in Orlando, Florida, on November 12, 2015.




Copies:

Counsel of Record




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